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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA


In re: Target Corporation Customer                         MDL No. 14-2522 (PAM/JJK)
Data Security Breach Litigation,


This document relates to:                                                         ORDER
       All Cases.


      This matter is before the Court on the Consumer Plaintiffs’ notice that the settlement

fund in the Consumer Cases has been either distributed to claimants or escheated to the

states of residence of claimants who have yet to cash their settlement checks. Target

agrees that this notice means that this multi-district litigation can be closed. (Docket

No. 827.)

      Accordingly, IT IS HEREBY ORDERED that this matter is DISMISSED with

prejudice.

LET JUDGMENT BE ENTERED ACCORDINGLY.

Dated: Friday, July 9, 2021
                                                        s/ Paul A. Magnuson
                                                        Paul A. Magnuson
                                                        United States District Court Judge
